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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ARIEL ROMAN,                     )
                                 )                    Case No. 2020-CV-01717
                   Plaintiff,    )
                                 )                    Judge Andrea R. Wood
      v.                         )
                                 )                    Magistrate Judge Sunil R. Harjani
THE CITY OF CHICAGO, a Municipal )
Corporation, and CPD OFFICERS    )
P.O. MELVINA BOGARD and P.O.     )
BERNARD BUTLER, Individually,    )
                                 )                    JURY DEMAND
                   Defendants.   )

 PLAINTIFF’S MOTION TO QUASH DEFENDANT BOGARD’S SUBPOENA DUCES
         TECUM TO PLAINTIFF’S EXPERT WILLIAM HARMENING


       NOW COMES the Plaintiff, Ariel Roman, by and through his attorneys, Gregory E.

Kulis & Associates, Ltd., The Action Injury Law Group LLC, The Law Office of Julian Johnson,

LLC, and The Gloria Law Group, for his motion to quash Defendant Bogard’s Subpoena Duces

Tecum Issued to Plaintiff’s Expert William Harmening. In support of this motion Plaintiff states

as follows:

                                        INTRODUCTION

       This Section 1983 case arises out of the unjustified shooting of Plaintiff Ariel Roman by

Defendant Bogard in 2020, for which Defendant Bogard was criminally charged. For over two

years, Defendants sought to have discovery in this case stayed while Defendant Bogard’s

criminal case languished in the state criminal court. In April of this year, over the strenuous

objections of Defendants, the District Court lifted the stay and ordered that discovery proceed.

Since then, what has followed has been a continued litany of discovery related issues and
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motions that stem from Defendants’ scorched earth defense strategy. Once again, the parties are

back before this Court on a discovery related issue that was caused by Defendant Bogard.

        On September 21, 2022, Plaintiff disclosed his police practices expert, William

Harmening, and provided Mr. Harmening’s CV, prior testimony, and fee schedule. After

receiving the expert disclosure, Defendant Bogard’s counsel reached out to Plaintiff’s counsels

to confirm a deposition date for Mr. Harmening. On October 5, 2022, the parties confirmed Mr.

Harmening’s deposition will take place on November 16, 2022. On October 6, 2022, Defendant

Bogard emailed Plaintiff’s counsels a subpoena for Mr. Harmening’s deposition and a subpoena

for documents. See Exh. A, Deposition Subpoena Issued to William Harmening and Exh. B,

Subpoena Duces Tecum Issued to William Harmening. The fact that Defendant Bogard issued a

subpoena for Mr. Harmening’s deposition is somewhat confusing, considering that Plaintiff had

already coordinated and agreed to produce Mr. Harmening on an agreed upon date. Even more

puzzling is Defendant Boogard’s subpoena to Mr. Harmening for documents. This subpoena is

improper and runs afoul of the Federal Rules of Civil Procedure.

                                      LEGAL STANDARD

        “Upon a timely motion, Rule 45(d) mandates that the court quash or modify a subpoena if

the subpoena "subjects a person to undue burden" or "requires disclosure of privileged or other

protected matter, if no exception or waiver applies." Fed. R. Civ. P. 45(d)(3)(A)(iii-iv).

                                            ARGUMENT

   I.      Rule 26 Governs Expert Discovery, Not Rule 45

        Defendant Bogard’s subpoena is predicated upon the assumption that Rule 45 governs

excerpt discovery. This is wrong. “To the extent that the issue of the subpoena becomes

applicable, Rule 45 of the Federal Rules of Civil Procedure cannot be utilized for obtaining an
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expert's files where Rule 26(b)(4) remains the limitation on discoverability.” Hartford Fire

Insurance Co. v. Pure Air on the Lake, Ltd. Partnership, 154 F.R.D. 202, 208 (N.D. Ind. 1993)

(quashing subpoena issued to party’s retained expert). Other courts have also ruled that it is

impermissible to use Rule 45 as a discovery tool to move beyond the bounds set within Rule 26

for expert discovery. See Morriss v. BNSF Ry. Co., 2014 U.S. Dist. LEXIS 3757, 2014 WL

128393, at *5, n. 1 (D. Neb. Jan. 13, 2014) (explaining that "irrespective of the rule deployed,

expert discovery beyond the scope of Rule 26(a)(2) and 26(b)(4) is impermissible absent some

threshold showing of need"); Alper v. U.S., 190 F.R.D. 281, 283 (D. Mass. 2000) (explaining

"Plaintiff's attempt to obtain discovery documents from a party's expert at trial via a Rule 45

subpoena is unauthorized by the federal rules"); Greer v. Anglemeyer, 1996 U.S. Dist. LEXIS

1429, 1996 WL 56557, at *2 (N.D. Ind. Jan. 5, 1996) (same).

       Here, Defendant Bogard does just that—she attempts to move around the confines of

Rule 26 and use Rule 45 to conduct discovery on Plaintiff’s expert and Plaintiff’s attorneys. This

is improper. The Federal Rules of Civil Procedure are to be followed, not ignored. In re Sulfuric

Acid Antitrust Litigation, No. 03 C 4576, 2005 U.S. Dist. LEXIS 17420, at *20 (N.D. Ill. Aug.

19, 2005). Defendant Bogard’s use of a bare subpoena to Plaintiff’s expert was not only

improper but an evasion of the expert discovery process. Newport News Holdings, LLC v. Great

American Insurance Co., Civil Action No. 4:17cv124, 2018 U.S. Dist. LEXIS 16602, at *5-6

(E.D. Va. Jan. 31, 2018) (quashing subpoena issued to expert because it was procedurally

defective and outside of the Rule 26(b)(4) framework.). The methods of discovery allowed under

Rules 26 (b)(4) and 30 do not permit the use of Rule 45 subpoenas duces tecum. Marsh v.

Jackson, 141 F.R.D. 431, 433 (W.D. Va. 1992) (quashing subpoena duces tecum issued to

expert). “Instead, they operate as a control, or brake if you will, on the potential runaway use of
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the subpoena duces tecum to compel the production of the evidence of experts retained by a

party to testify at trial.” Id.

        As such, Defendant Bogard’s subpoena duces tecum to Plaintiff’s expert is improper and

must be quashed.

                                         CONCLUSION

        Defendant Bogard attempted to conduct an end-run around the Federal Rules of Civil

Procedure in hopes of gaining a tactical advantage for her defense in this case. She should not be

rewarded for this behavior. For all the reasons stated above, Plaintiff requests that this Court

quash the subpoena duces tecum issued by Defendant Bogard to Plaintiff’s expert William

Harmening.

        WHEREFORE, Plaintiff respectfully requests this Honorable Court grant his motion to

quash the subpoena duces tecum issued by Defendant Bogard to Plaintiff’s expert and grant any

other relief this Court deems just and proper.

                                                      Respectfully submitted,
                                                      ARIEL ROMAN, Plaintiff

                                                      /s/ Julian Johnosn     ___
                                                      One of Plaintiff’s Attorneys
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                             CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the above PLAINTIFF’S MOTION TO QUASH
DEFENDANT BOGARD’S SUBPOENA DUCES TECUM TO PLAINTIFF’S EXPERT
WILLIAM HARMENING T was filed on October 13, 2022 with the Northern District of Illinois
ECF System, serving a copy on all attorney of record.

                                                      /s/ Julian Johnson
                                                      One of Plaintiff’s Attorneys
